     Case 13-02016-MBK Doc 35 Filed 05/09/14 Entered 05/09/14 10:03:40                                  Desc Main
                              Document
 UNITED STATES BANKRUPTCY COURT            Page 1 of 1
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)




 In Re:                                                           Case No.:                     12-27005
                                                                                          ____________________
  Cantello, LLC                                                   Adv. No.:                   13-02016-MBK
                                                                                          ____________________



 Catherine Youngman                                               Hearing Date:          ____________________
                                                                  Judge:                         MBK
                                                                                         ____________________
 vs.

 Thread Union LLC etal




                          Recommended Local Form:           ”
                                                            ✔ Followed ” Modified




                                                   ENTRY OF DEFAULT


          It appearing that the following defendant(s) failed to plead or otherwise defend in this proceeding as required by
law:
                          Sarah Banbury




          THEREFORE, default is entered against said defendant(s) as authorized by Fed. R. Bank. P. 7055.


        5/9/14
Dated: ____________________                                         /s/
                                                                   _____________________________
                                                                   JAMES J. WALDRON, Clerk

                                                                                                                   Rev. 7/1/04; jml
